Case 1:04-cr-00117-MR-DLH   Document 199   Filed 12/30/05   Page 1 of 6
Case 1:04-cr-00117-MR-DLH   Document 199   Filed 12/30/05   Page 2 of 6
Case 1:04-cr-00117-MR-DLH   Document 199   Filed 12/30/05   Page 3 of 6
Case 1:04-cr-00117-MR-DLH   Document 199   Filed 12/30/05   Page 4 of 6
Case 1:04-cr-00117-MR-DLH   Document 199   Filed 12/30/05   Page 5 of 6
Case 1:04-cr-00117-MR-DLH   Document 199   Filed 12/30/05   Page 6 of 6
